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 1 LAW OFFICE OF
   GARO B. GHAZARIAN
 2 State Bar No. 152790
   15915 Ventura Blvd., Suite 203
 3 Encino, California 91436
   Tel: (818)905-6484
 4 Fax: (818)905-6481
 5
 6 Attorney for Defendant
   LEVON VARTANYAN
 7
 8
                            UNITED STATES DISTRICT COURT
 9
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11 UNITED STATES OF AMERICA,            )    No. CR-S-04-0024LKK
                  Plaintiff,            )
12                                      )    STIPULATION TO CONTINUE
13        v.                            )    SENTENCING DATE; ORDER
                                        )
14 LEVON VARTANYAN,                     )
     aka Levon Vardanyan,               )    CURRENT DATE:
15      Gevorg Grigoryan,               )    May 31, 2006 at 9:30 am
        Gevorg Grigoryan,        )           PROPOSED DATE:
16
                  Defendant.     )           September 26, 2006 at 9:30
17 ______________________________)
18
          Defendant LEVON VARTANYAN by and through his attorney of
19
20 record, Garo B. Ghazarian, and plaintiff, UNITED STATES OF
21 AMERICA, by and through Assistant United States Attorney
22 Matthew Segal, hereby stipulate as follows:
        The sentencing for defendant LEVON VARTANYAN in this
23
24 matter is currently scheduled for May 31, 2006, at 9:30 a.m.
25 By this stipulation, the parties jointly move to continue the
26 sentencing date from May 31, 2006 at 9:30 a.m. to September
27 26, 2006 at 9:30 a.m.
28
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 1
          Counsel has discussed this continuance with his client,
 2
     defendant LEVON VARTANYAN, and the defendant concurs with the
 3
     requested continuance.
 4
 5
          IT IS SO STIPULATED.
 6
                                       Respectfully submitted,
 7
 8 Date: May 24, 2006                   /S/Garo Ghazarian
                                       GARO B. GHAZARIAN
 9                                     Attorney for Defendant
                                       LEVON VARTANYAN
10
11
12                                     McGREGOR W. SCOTT
                                       United States Attorney
13
                                       /s/Garo Ghazarian for Matthew
14 Date: May 24, 2006                  Segal - per phone authorization
                                       Matthew Segal
15                                     Assistant United States Attorney
16                                     Attorney for Plaintiff
                                       UNITED STATES OF AMERICA
17
18
19
20
                                   O R D E R
21
22        IT IS SO FOUND AND ORDERED this 25th day of May 2006 that
23 the sentencing in the matter of United states v. Levon
24 Vartanyan currently scheduled for May 31, 2006 at 9:30 A.M.
   shall be continued to September 26, 2006 at 9:30 A.M.
25
26
                                 /s/Lawrence K. Karlton
27                               HONORABLE LAWRENCE K. KARLTON
28                               UNITED STATES DISTRICT COURT JUDGE
